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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                     )
In re:                                               ) Chapter 11
                                                     )
AKORN, INC., et al.,                                 ) Case No. 20-11177 (KBO)
                                                     )
                              Debtors.               ) (Jointly Administered)
                                                     )
                                                     ) Re: Docket No. 184

                    ORDER SCHEDULING OMNIBUS HEARING DATE

         Pursuant to Del. Bankr. L.R. 2002-1(a), the Court has scheduled the following hearing

date in the above-captioned chapter 11 cases:

         Date & Time                                      Location

July 21, 2020 at 3:30 p.m. (ET)             U.S. Bankruptcy Court for the District of Delaware
                                            824 North Market Street, 6th Floor, Courtroom 3
                                            Wilmington, Delaware 19801




   Dated: June 17th, 2020                          KAREN B. OWENS
   Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE
